






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-01-00536-CV






Carol Hagerman, Appellant



v.



Walburg State Bank; Rudolph Schwausch; Associates Commercial Corp.; Keith Fiala;


Majestic Trucking, Inc.; and Charles Hagerman, III, Appellees







FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL DISTRICT


NO. 99-634-C368, HONORABLE BURT CARNES, JUDGE PRESIDING







	Carol Hagerman seeks to appeal the trial court's judgments against her in the
underlying case.  Because those judgments are interlocutory, we will dismiss the appeal for want of
jurisdiction.

	Appellant Hagerman sued appellees alleging conversion, conspiracy, and
misappropriation of funds resulting from the sale of a truck and trailer owned by her and her husband
as community property and subsequently sold under an alleged agreement after their divorce.  A
central issue in this dispute was whether appellant consented to the sale.  Several discovery motions
were heard and ruled on by the trial court, among those was Associates Commercial Corporation's
Motion for Sanctions.  In granting its order for sanctions, the court decreed that Ms. Hagerman
consented to the sale of the truck and trailer and that she was precluded from introducing any
evidence to deny her consent.  Although the court's ruling that Ms. Hagerman had consented to the
sale and was precluded from entering evidence to the contrary effectively eliminated her claim
against the two remaining defendants, Fiala and Charles Hagerman III, summary judgment was not
entered in their favor, leaving the claims against them pending.  On September 21, 2001, the trial
court granted Associates Commercial Corporation's motion for summary judgment.  This judgment
contained a "Mother Hubbard" clause; however, we do not find this dispositive in determining
whether the judgment constitutes a final judgment.  See Lehmann v. Har-Con Corp., 39 S.W.3d 191,
195 (Tex. 2001).  The judgment did not dispose of every pending claim and party, nor did it clearly
and unequivocally state that it was intended to do so.  Id. at 205.  Subsequently on October 22, 2001,
the court granted a motion for summary judgment submitted by Walburg State Bank, Rudolph
Schwausch, and Majestic Trucking, Inc.

	With exceptions not applicable here, an appellate court has jurisdiction only over
appeals from final judgments.  Id. at 195.  To be final, the judgment must dispose of all parties and
issues before the court.  Id. at 205.  Although the court's sanction order makes findings that would
seem to defeat any claims against Fiala and Charles Hagerman, there is no court order that disposes
of appellant's claims against these parties.  In Lehmann, the supreme court clearly indicated that the
intent to finally dispose of a case must be unequivocally expressed in the order itself.  Id. at 200. 
The issues must be disposed of "intrinsically, and not inferentially."  Id. at 196.  The sanctions order
does not unequivocally dispose of the claims against Fiala and Charles Hagerman; at best, it disposes
of the claims inferentially.  Under Lehmann , this is insufficient.  Presented with a judgment that is
not final, we lack jurisdiction over the appeal.

	Accordingly, we dismiss the appeal for want of jurisdiction.  Tex. R. App. P. 42.3(a).



__________________________________________

Justice Bea Ann Smith

Before Chief Justice Aboussie, Justices B.A. Smith and Puryear

Dismissed for Want of Jurisdiction

Filed:   January 31, 2002

Do Not Publish


